'   . .
                                                              EXHIBIT A

          (USAO GAN 6/10) Search Warrant



                                                     United States District Court
                                                      NORTHERN DISTRICT OF GEORGIA
                                     In the Matter of the Search of
                                                                                         APPLICATION AND
           Black Apple !phone 5 Surrounded By A Pink And Green                             AFFIDAVIT FOR
           Otterbox Case                                                                 SEARCH WARRANT

                                                                                      Ca~stA[tl)

          I, Joseph M. Simone, being duly sworn depose and say:
          I am a Task Force Officer of the Drug Enforcement Administration and have reason to believe that on the
          property described as:                                                            ~., ':. fl.SUN CffAMBERs

          Black Apple Iphone 5 Surrounded By A Pink And Green Otterbox Case                      S:...
                                                                                                 L       U.S.D..C..Adaata
                                                                                                                ,
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                                                                                                 ~-      IEC 2 2013
                                                                                                                        , Clerk
          in the Northern District of Georgia there is now concealed certain property, namely,   ti,:·
          See Attachment A.

          which constitutes evidence of a crime, contraband, fruits of crime, or items illegally possessed, an:d
          property designed for use, intended for use, or used in committing a crime, concerning violations of Title
          18, United States Code, Section(s) 1956 and 1957; Title 18, United States Code, Section(s) 1344; Title 18,
          United States Code, Section(s) 1343; and Title 21, United States Code, Section(s) 841 and 846. The facts to
          support a finding of Probable Cause are as follows:

          SEE ATTACHED AFFIDAVIT

          Continued on attached sheet made a part hereof.



          Sworn to before me, and subscribed in my presence ·


          December 20, 2013                                               Atlanta , Georgia
          Date                                                            City and States


          . RUSSELL G. VINEYARD
            UNITED STATES MAGISTRATE JUDGE
            Name and Title of Judicial Officer
          AUSA Garrett L Bradford
                             ATTACHMENT A

1. Object

  A. The listed SUBJECT TELEPHONE, namely a Black Apple iPhone 5
     Surrounded By A Pink And Green Otterbox Case, which is currently .in
     DEA custody.

2. Search Procedure

  A. Law enforcement personnel will review and examine all data and
     information stored on/ in the SUBJECT TELEPHONE and determine the
     information to be seized by law enforcement personnel in accordance with
     Section 3 of this Attachment.

3. Information to be Seized by Law Enforcement Personnel

  A. Any and all stored communications, data, and files stored in/ on the
     SUBJECT TELEPHONE, including but not limited to, phone directory
     information, note pad, content of stored text messages or other electronic
     communications, stored voice mail or other audio messages, recordings of
     incoming calls, calendar information, all of which are stored or saved in
     the above listed electronic device and/ or the Subscriber Identity Module
     ("SIM") card associated with said device, which evidence the
     transportation, ordering, distribution, possession and sale of controlled
     substances, money laundering, bank or wire fraud, and/ or connections to
     known and as yet unidentified co-conspirators in the investigation;

  B. Photographs, videos, records, other electronic media which show the
     transportation, ordering, distribution, possession and sale of controlled
     substances, money laundering, bank or wire fraud, and/ or connections to
     known and as yet unidentified co-conspirators in the investigation; and

  C. Address and/ or telephone and address books and other notes reflecting
     names, addresses (including email), and/ or telephone numbers, showing
     the relationship between known and as yet unidentified co-conspirators in
     the investigation.
                       --------·--·




                 AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
                         FOR CELLULAR TELEPHONE
                                   )
   I, Joseph M. Simone, Task Force Officer with the Drug Enforcement
Administration ("DEA"), being first duly sworn, hereby depose and state as
follows:
I. INTRODUCTION

   1. I submit this affidavit in support of an application for a warrant authorizing

the search of the following cellular telephone, which is in DEA custody in

Atlanta, Georgia having been seized on December 4, 2013, by the Broward

Sheriff's Office in Broward County, Florida in connection with an investigation

of the offense of Delivery of Cannabis by Amanda ROMANO:
             I

           SUBJECT TELEPHONE:

           Black Apple iPhone 5, surrounded by a pink and green Otterbox case

   2. As set forth herein, I respectfully submit that probable cause exists to

believe that in/ on the SUBJECT TELEPHONE there exists evidence, fruits, and

instrumentalities of violations of 18 U.S.C. §§ 1956 and 1957 (money laundering),

18 U.S.C. § 1344 (bank fraud), 18 U.S.C. § 1343 (wire fraud), and 21 U.S.C. § 841

and 846 (narcotics trafficking).

   3. The SUBJECT TELEPHONE is currently in the possession of the DEA in

Atlanta, Georgia in the Northern District of Georgia.

   4. I am a Detective with the Sandy Springs, Georgia Police Department

currently assigned to the Atlanta High Intensity Drug Trafficking Area (HIDTA)

Task Force as a U.S. Drug Enforcement Administration (DEA) Task Force Officer
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       (TFO). I am State of Georgia P.0.S.T. certified and have been employed by the

       Sandy Springs Police Department for approximately seven years. Prior to that, I

       was employed by the Fulton County, Georgia Police Department for

       approximately 11 years. In connection with my official duties, I investigate

       criminal violations of drug laws and related offenses, including, but not limited

       to, violations of Title 21, United States Code, Sections 841, 843; 846, 848, 856, 952,

       960, and 963, and Title 18, United States Code, Sections 2, 1952, 1956, and 1957;

       and O.C.G.A. Title 16, Chapter 13. I have received specialized training in the

       enforcement of the drug laws. I have participated in over one hundred

       narcotics/ drug cases and am well versed through my experience in the tactics,

       techniques and method of operation of indiyiduals associated and involved in

       illegal narcotics distribution, and the methods and means they will use to

       launder their illegally earned narcotics proceeds. From my training and

       experience, I am aware of the considerable efforts narcotics traffickers and

       ·money launderers will use to conceal, disguise and hide their funds and assets

       from law enforcement as a way of protecting their illegally acquired wealth and

       avoiding forfeiture.

          5. From my training and experience, I am also aware that narcotics traffickers

       and money launderers frequently utilize cellular telephones to conduct and

       further their illicit activities. I am aware that narcotics traffickers and money

       launderers use cell phones to communicate with each other via voice, direct

       connect, text message, and e-mail; store valuable data such as names, addresses,

       and phone numbers of co-conspirators; obtain and store directions and maps;


                                                 -2-
maintain photographs of criminal associates; search the internet; and capture

audio, image, and video files. Furthermore, I know that it is common for

narcotics traffickers and money launderers to possess and use multiple cell

phones to facilitate their unlawful conduct.

   6. I make this affidavit based upon facts personally known to me and upon

facts provided to me by other law enforcement officers. Since I am only

submitting this affidavit for the limited purpose of securing a search warrant, I

have not included all the facts known to me in this affidavit. Rather, I have

included only those facts that I believe are sufficient to establish probable cause

for the issuance of the requested search warrant.

   7. Based on the information in this affidavit, I respectfully submit that there is

probable cause to believe that the SUBJECT TELEPHONE contains evidence,

contraband, fruits, and instrumentalities of violations of 18 U.S.C. §§ 1956 and

1957 {money laundering), 18 U.S.C. § 1344 {bank fraud), 18 U.S.C. § 1343 (wire

fraud), and 21 U.S.C. § 841 and 846 (narcotics trafficking).

II. BACKGROUND OF THE INVESTIGATION

   8. In connection with an investigation into a marijuana and cocaine

distribution network operating in the Atlanta metro area, the High Intensity

Drug Trafficking Area {"HIDTA") Task Force in Atlanta identified Mani

CHILPAYEN, aka Mani Chulpayev, as the leader of a large criminal enterprise

that launders money for a number of narcotics traffickers. Specifically,

CHILPAYEN operates a luxury car leasing business for known narcotics

traffickers, charging his clients large cash down payments and monthly fees

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     while providing them with anonymity by keeping the cars registered in the

     names of business entities or other individuals. Additionally, CHILPAYEN

     obtains cars for use in his enterprise using a system of straw purchasers, bank

     fraud, and wire fraud. CHILP AYEN' s enterprise has been operating in Georgia,

     Florida, North Carolina, New York, and likely other states.

        9. CHILPAYEN was arrested in April 2013 and charged with murder and

     other crimes in Fulton County Superior Court in connection with the June 7,

     2012, homicide of Melvin Vernell III, aka Lil Phat (a client of CHILPAYEN's

     business), outside Northside Hospital in Sandy Springs, Georgia. Since the

     arrest, CHILPAYEN' s enterprise has been operated by CHILP AYEN' s girlfriend,

     Amanda ROMANO, and brother, Ariel Chulpayev. Using telephone calls from

     jail to ROMANO and Chulpayev, CHILPAYEN has continued to direct the

     operations of the enterprise while incarcerated.

        10. The investigation has revealed thatCHILPAYEN's money laundering and

     fraud enterprise was structured as follows:

              a. CHILPAYEN maintained a fleet of 100+ cars, which he leased out to

                 a clientele that is predominantly drug traffickers.

              b. In order to generate an inventory of vehicles for his car leasing

                 business, CHILP AYEN' s associates recruited a number of straw

                 purchasers with good credit.

              c. In some instances a straw purchaser would go to multiple

                 dealerships where their credit report was pulled to apply for

                 financing. The straw purchaser then bought multiple luxury


                                             -4-
           vehicles in a short period of time and turned them over to

           CHILPAYEN' s business. It was not until approximately 30 days

           later that the financial institutions learned that the straw purchaser

           had actually purchased multiple vehicles from different sources

           within a short period of time. By that time, the vehicles had already

           been transferred to CHILPAYEN' s business and leased out to

           clients, and the financial institutions were unable to locate the

           vehicles to repossess them.

        d. CHILPAYEN rented out these vehicles to clients who provided him

           with a large cash down payment of $5,000 to $10,000. These clients

           then paid a monthly fee of $1,500 to $1,600 for continued u~e of the

           vehicle. CHILPAYEN sometimes directed clients to make their

           payments to bank accounts which were held in the name of an

           individual other than CHILPAYEN or his business entities.

        e. When CHILPAYEN leased vehicles to his clients, the vehicles

           remained registered in the name of one of CHILPAYEN' s business

           entities or straw purchasers. This enabled his clients to prevent their

           identities from being associated with the vehicles.

        f. CHILPAYEN communicated with business associates and clients via

           text messages, e-mails, and telephone calls.

  11. Many details about the criminal enterprise have been corroborated by

CHILPAYEN himself. On April 12, 2013, CHILPAYEN was arrested in Broward

County, Florida on murder charges out of Fulton County Superior Court. That


                                         -5-
same day, after being read his Miranda rights by agents, CHILPAYEN waived

his rights and agreed to answer questions asked by investigators. CHILPAYEN

told agents the following:

         a. He rented out approximately 144 vehicles as a part of his enterprise.

         b. He estimated that approximately 80% of his clients were drug

            dealers.

         c. He obtained cars for his enterprise from straw purchasers or people

            who get in over their heads. He used at least one associate, P.C., to

            locate the straw. purchasers and obtam financing for the vehicles.

         d. One of his clients, D.W., sold cocaine and marijuana in the Atlanta

            area and invested in CHILPAYEN's enterprise. D.W. gave

            CHILPAYEN cash payments of $100,000, $60,000, and $5,000 in

            April and May 2012.

         e. One of his clients, K.J., distributed cocaine and marijuana and paid

            CHILPAYEN approximately $140,000 in cash between 2010 and

             2012.

         f. ROMANO was fully aware of the operations of the enterprise. She

            was an employee and had her own office in the business.

   12. The investigation has not revealed a legitimate source of significant

income for CHILPAYEN outside of his money laundering enterprise.




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III. PROBABLE CAUSE TO SEARCH THE SUBJECT TELEPHONE

   13. Your affiant believes that the SUBJECT TELEPHONE, which belongs to

ROMAN0,1 contains evidence of the money laundering and fraud activities of

CHILPAYEN' s criminal enterprise because, based on my experience and

knowledge of this investigation, I believe that since CHILP AYEN' s arrest in

April 2013 ROMANO has served as CHILPAYEN' s surrogate for handling his

business and financial affairs, including the affairs of the criminal enterprise. For

example:

           a. CHILP AYEN told agents during his April 12, 2013, interview that . ·

              ROMANO, his girlfriend, is an employee of the car leasing business,

              has her own office in the business, and is fully aware of how he

              operates the business.

           b. Agents reviewed call data associated with ROMANO' s known

              cellular phone number, which was obtained pursuant to subpoena

              and court order, and discovered that ROMANO has had frequent

              contacts with several known associates of CHILPAYEN' s criminal

              enterprise since CHILP AYEN' s arrest in April 2013.

           c. Agents have reviewed numerous recorded jail calls between

              CHILPAYEN and ROMANO since CHILP AYEN' s arrest in which

              they discuss the affairs of the enterprise and CHILPAYEN directs


   1 During a recorded jail call on July li', 2013, ROMANO told CHILP AYEN
that she had an iPhone 5. Additionally, agents have observed ROMANO using
an iPhone during surveillance, including on May 22, 2013.


                                         -7-
  ROMANO in how to operate the business. For example, agents

  have reviewed the following call:

      i. CHILPAYEN Jail Call on April 13, 2013 ·

            1. In this call, CHILPAYEN told ROMANO to tell C.H., a

               known associate of CHILPAYEN, to change the

               passwords on the website CHILPAYEN uses to track

               the cars leased through his business.

d. Agents have also reviewed recorded jail calls in which ROMANO

   told CHILPAYEN that she had entered information about the

  criminal enterprise in her "notes," which agents believe is a

   reference to the "Notes" application on the SUBJECT TELEPHONE.

   For example, agents have reviewed the following call:

      i. CHILPAYEN Jail Call on April 13, 2013

            1. In this call, CHILPAYEN and ROMANO discussed

               using an electronic tracking system to determine the

               location of a vehicle leased out as part of his criminal

               enterprise. ROMANO stated that she had tracked the

               vehicle the previous night and entered the location in

               her "notes."

e. Agents have also reviewed recorded jail calls in which ROMANO

   told CHILPAYEN that she had taken photos with the SUBJECT

   TELEPHONE to document information about the criminal

   enterprise. For example, agents have reviewed the following call:


                              -8-
               i. CHILPA YEN Jail Call on May 1, 2013

                      1. In this call, RO~ANO told CHILPAYEN that S.S. gave

                         her a check payable to one of the business entities

                         CHILPAYEN uses to operate his criminal enterprise.

                         ROMANO stated that she took a picture of the check

                         using her phone and deposited the money into her bank

                         account.

        f. Agents have also reviewed recorded jail calls in which CHILPAYEN

            told ROMANO to send text messages to known criminal associates

            of CHILPAYEN' s enterprise from the SUBJECT TELEPHONE. For

            example, agents have reviewed the following call:

               1.   CHILPA YEN Jail Call on May 3, 2013

                      1. In this call, CHILPAYEN told ROMANO to text "Fifty"

                         that CHILPAYEN will be in Atlanta, and told

                         ROMANO that "Fifty" can help find customers in

                         Atlanta.

                            a. "Fifty" is a known criminal associate of

                               CHILPAYEN.

  14. Your affiant also believes that the SUBJECT TELEPHONE contains

evidence of narcotic trafficking activity by ROMANO. As indicated below in the

circumstances surrounding the seizure of the SUBJECT TELEPHONE, and in

paragraph 17 in particular, agents believe the SUBJECT TELEPHONE contains




                                       -9-
'   .



        text messages concerning at least one incident of narcotics trafficking by

        ROMANO.
        IV. SEIZURE OF THE SUBJECT TELEPHONE

           15. On December 3, 2013, Broward Sheriff's Office detectives received

        information that ROMANO was in possession of marijuana at 9431 Live Oak

        Place Apartment #306 in Davie, Florida (the "residence"). On December 4, 2013,

        detectives knocked on the door of the residence and ROMANO answered.

        Detectives advised that they were following up on a tip that ROMANO was

        possibly growing marijuana inside the residence. ROMANO denied growing

        marijuana and refused detectives' request to look inside the residence.

        Detectives left the apartment but set up surveillance outside the residence.

           16. Shortly thereafter, detectives observed a male, later determined to be

        K.S.P., drive up and walk into the apartment with a black bag that appeared to

        be empty. K.S.P. later left the apartment carrying the black bag, which appeared

        to be heavier than when he arrived. After K.S.P. drove away, detectives

        approached him at a stop sign and a narcotics canine alerted to the presence of

        narcotics inside K.S.P.' s vehicle. Detectives inspected the black bag and found

        approximately 6 grams of material that field tested positive for marijuana, a glass

        marijuana pipe with suspected marijuana residue, and a digital scale.

           17. K.S.P. gave detectives a post-Miranda statement in which he stated that

        ROMANO had called him a short time earlier and told him that the police had

        been at her residence and that she needed to get rid of some marijuana. In

        response, he drove to ROMANG s apartment with the black bag. ROMANO


                                                -10-
placed marijuana and othet items inside the bag in the residel)ce. K.S.P. allowed

detectives to view text messages on his phone with ROMANO that corroborated

his statement to detectives.

   18. Detectives went back to the residence and knocked on the door.

ROMANO opened the door and detectives stated that she was under arrest.

After detectives escorted ROMANO out of the residence, they asked her for her

cell phones. She stated the cell phones were inside the residence, and handed

detectives keys to the door of the residence. Detectives used the keys and

retrieved two cell phones, one of which is the SUBJECT TELEPHONE.2

   19. Detectives released ROMANO a short while later on the scene, advising

her that the investigation would be documented and presented to the Broward

State Attorney Office· for review for the crime of Delivery of Cannabis.

Detectives retained possession of both cell phones as evidence of the crime of

Delivery of Cannabis.

   20. Detectives forwarded the SUBJECT TELEPHONE to DEA agents in

Miami, who forwarded the SUBJECT TELEPHONE to DEA agents in Atlanta,

who received the SUBJECT TELEPHONE on December 13, 2013.

IV. CONCLUSION

   21. Based on the foregoing, I submit there is probable cause to believe that the

SUBJECT TELEPHONE contains evidence, contraband, fruits, and

instrumentalities of violations of federal law, in particular, 18 U.S.C. §§ 1956 and



   2 The other cell phone is not an iPhone.


                                        -11-
1957 (money laundering), 18 U.S.C. § 1344 (bank fraud), 18U.S.C.§1343 (wire

fraud), and 21 U.S.C. § 841 and 846 (narcotics trafficking), as set forth with

particularity in Attachment A, which is incorporated herein by this reference.

   22. By this Affidavit and Application, I request that the Court issue a search

warrant to allow for the search of the SUBJECT TELEPHONE for evidence, in

accordance with the procedures listed in Attachment A.




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                              ATTACHMENT A

1. Object

  A. The listed SUBJECT TELEPHONE, namely a Black Apple iPhone 5
     Surrounded By A Pink And Green Otterbox Case, which is currently in
     DEA custody.

2. Search Procedure

  A. Law enforcement personnel will review and examine all data and
     information stored on/ in the SUBJECT TELEPHONE and determine the
     information to be seized by law enforcement personnel in accordance with
     Section 3 of this Attachment.

3. Information to be Seized by Law Enforcement Personnel

  A. Any and all stored communications, data, and files stored in/ on the
      SUBJECT TELEPHONE, including but not limited to, phone directory
      information, note pad, content of stored text messages or other electronic
      communications, stored voice mail or other audio messages, recordings of
      incoming calls, calendar information, all of which are stored or saved in
     ·the above listed electronic device and/ or the Subscriber Identity Module
      ("SIM") card associated with said device, which evidence the
      transportation, ordering, distribution, possession and sale of controlled
      substances, money laundering, bank or wire fraud, and/ or connections to
      known and as yet unidentified co-conspirators in the investigation;

  B. Photographs, videos, records, other electronic media which show the
     transportation, ordering, distribution, possession and sale of controlled
     substances, money laundering, bank or wire fraud, and/ or connections to
     known and as yet unidentified co-conspirators in the investigation; and

  C. Address and/ or telephone and address books and other notes reflecting
     names, addresses (including email), and/ or telephone numbers, showing
     the relationship between known and as yet unidentified co-conspirators in
     the investigation.
(USAO GAN 6/10) Search Warrant




                                           United States District Court
                                            NORTHERN DISTRICT OF GEORGIA
                           In the Matter of the Search of
  Black Apple !phone 5 Surrounded By A Pink And Green                         SEARCH WARRANT
  Otterbox Case                                                             Case number: 1:13-MJ-1844


                                                                             SEALED
TO: Task Force Officer Joseph M. Simone, and any Authorized Officer of the United States
Affidavit(s) having been made before me by Joseph M. Simone who has reason to believe that on the
property described as:
Black Apple !phone 5 Surrounded By A Pink And Green Otterbox Case
in the Northern District of Georgia there is now concealed certain property, namely,
See Attachment A.
which constitutes evidence of a crime, contraband, fruits of crime, or items illegally possessed, and
property designed for use, intended for use, or used in committing a crime, concerning violations of Title
18, United States Code, Section(s) 1956 and 1957; Title 18, United States Code, Section(s) 1344; Title 18,
United States Code, Section(s) 1343; and Title 21, United States Code, Section(s) 841and846. I find that
the affidavit(s) establishes probable cause to search for and seize the certain property from the property
described above.

YOU ARE HEREBY COMMANDED to execute this warrant on or before I / 3 { l                 l/        (not to
exceed 14 days) IN THE DAYTIME (6 a.m. -10 p.m.). You must give a copy of the warrant and a receipt
for the property taken to the person from whom, or from whose premises, the property was taken, or
leave a copy of the warrant and receipt at the place where the property was taken. The officer executing
the warrant, or an officer present during the execution of the warrant, must prepare an inventory as
required by law and promptly return this warrant and inventory to United States Magistrate Judge
Russell G. Vineyard.

  December 20, 2013 at                                      at Atlanta , Georgia
· Date and Time Issued                                         City and States


RUSSELL G. VINEYARD
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer
AUSA Garrett L. Bradford
